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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------------ x
SECURITIES AND EXCHANGE COMMISSION,                                            :
                                                                               :
                                                      Plaintiff,               :
                                                                               :   10 CIV. 4270 (SHS)
         -against-                                                             :
                                                                               :
KENNETH IRA STARR, STARR INVESTMENT                                            :
ADVISORS, LLC, and STARR & COMPANY, LLC,                                       :
                                                                               :
                                                      Defendants,              :
                                                                               :
DIANE PASSAGE and COLCAVE, LLC,                                                :
                                                                               :
                                    Relief Defendants.                         :
------------------------------------------------------------------------------ x


                    RECEIVER’S MOTION FOR AN ORDER TERMINATING
                RECEIVERSHIPS OF STARR INVESTMENT ADVISORS, LLC AND
                 STARR & COMPANY, LLC AND GRANTING RELATED RELIEF


        Aurora Cassirer, Esq., in her capacity as receiver (the “Receiver”) for Defendants Starr

Investment Advisors, LLC (“SIA”), Starr & Company, LLC (“Starrco”) and Relief Defendant

Colcave LLC (“Colcave,” and collectively with Starrco and SIA, the “Receivership Estates”),

appointed in the above-captioned case (the “Receivership Action”) by Order of this Court dated

July 8, 2010 (the “Preliminary Injunction Order”) (Docket No. 19), respectfully moves this Court

for an Order terminating the receiverships of SIA and Staarrco and granting related relief (the
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“Motion”). The Securities and Exchange Commission (the “SEC”), which is the plaintiff in this

action, consents to the relief sought by the Receiver in this Motion.1

                                          I.       BACKGROUND

A.      History of Proceedings

         On May 26, 2010, the United States Attorney filed a complaint against Kenneth Starr

(“Starr”) alleging that Starr “has utilized [the Starr Companies] to commit fraud.” Sealed

Complaint at ¶ 7, United States v. Starr, 10-CR-00520-SAS-1 (S.D.N.Y. May 26, 2010). On

May 27, 2010, federal agents arrested Starr in the condominium he had just recently purchased in

the name of Colcave for $7.5 million, using funds misappropriated from clients of the Starr

Companies. Also on May 27, 2010, the SEC commenced the within action in this Court against

the above-captioned Defendants and Relief Defendants. The SEC alleges in its Complaint that

the Defendants perpetrated a fraudulent scheme, abusing the signatory power they had over their

clients’ bank and investment accounts and misappropriating client funds for their own purposes,

and as a result directly or indirectly engaged in acts in violation of the Investment Advisers Acts

of 1940 (the “Advisers Act”).

        At a hearing on May 27, 2010, the Court in the within action found good cause to believe

that the Defendants violated the Advisers Act and entered an Order (Docket No. 2) imposing,

among other things, asset freezes against the Defendants and the Relief Defendants and a

constructive trust over the condominium unit located at 433 East 74th Street, New York, New

York (the “Colcave Apartment”).




1
  For the avoidance of confusion, we note that references in this Motion to the United States or to the Government
include the Department of Justice, the United States Attorney’s Office or the Internal Revenue Service, but do not
include the SEC. Conversely, references to the SEC do not include the Department of Justice, the United States
Attorney’s Office or the Internal Revenue Service.


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       By Order of this Court dated June 1, 2010 (Docket No. 5), Aurora Cassirer, Esq. was

appointed interim monitor for the Receivership Estates and granted the authority to monitor the

expenses and transfers into and out of the bank accounts of the Receivership Estates. Ms.

Cassirer’s tenure as Interim Monitor continued until June 7, 2010 when, although the SEC’s

then-pending preliminary injunction motion was adjourned, this Court issued an Order (Docket

No. 13) appointing Ms. Cassirer temporary receiver for the Receivership Estates and granted her

the authority to retain immediate custody and control of all assets and property of the

Receivership Estates, and take all steps necessary to protect such assets and property.

       On June 10, 2010, a federal grand jury empanelled in the United States District Court for

the Southern District of New York handed down a twenty-three count indictment against Starr,

including counts for wire fraud, money laundering, fraud by an investment advisor, and

securities fraud (the “Federal Indictment”). The Federal Indictment charges Starr with having

defrauded or attempted to defraud his victims of at least $59 million. Federal Indictment at ¶ 4,

United States v. Starr, 10-CR-00520-SAS-1 (S.D.N.Y. June 10, 2010).

       On July 8, 2010, this Court heard from counsel with respect to the SEC’s adjourned

motion for preliminary injunctive relief and with respect to motions filed by Kenneth Starr and

by the US Attorneys’ Office seeking a stay of proceedings in the within action. Following

counsels’ presentations on July 8, 2010, this Court entered the Preliminary Injunction Order

(Docket No. 19), inter alia: (a) preliminarily enjoining the Defendants from violating the

Advisers Act; (b) freezing assets of the Defendants and Relief Defendants; (c) requiring the

Defendants and Relief Defendants to render accountings; (d) preventing the Defendants and

Relief Defendants from destroying, concealing or altering any books, records, documents,




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electronic data or computer files; and (e) appointing the Receiver on a permanent basis over the

Receivership Estates.

       On September 10, 2010, Starr entered into a written plea agreement with the United

States Department of Justice (the “Plea Agreement”), and confirmed his agreement in open

court. In accordance with the Plea Agreement, Starr pled guilty to three counts—one count of

wire fraud, one count of money laundering, and one count of fraud by an investment advisor—

with a statutory maximum sentence of forty-five years in prison. In entering into the Plea

Agreement, Starr acknowledged “that he has accepted this Agreement and decided to plead

guilty because he is in fact guilty” of the alleged criminal conduct. In addition, the Plea

Agreement reflects Starr’s agreement and admission that his criminal conduct has caused “a loss

of more than $20,000,000.” On March 2, 2011, Starr was sentenced to seven and one half years

in prison.

B.     Administration of the Starr Companies’ Receivership Estates

       The business of Starrco involved, in large measure, the management of the personal

affairs of high-net-worth clients (including individuals, business entities, personal trusts and

others). As of June 1, 2010, based upon records that Ms. Cassirer obtained at the Starr offices,

and conversations with key employees of Starrco, it appeared that there were only 30 or 40

personal management clients left, down from approximately 140 just a month or two earlier, and

the list of remaining clients was getting smaller each day as clients, or their attorneys or other

representatives, asked that the clients’ accounts be transferred to new management companies.

By July 8, 2010, when Ms. Cassirer assumed the position of Receiver, the abandonment of

Starrco by its former clients was complete and Starrco was out of the business of providing

personal client management services.




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       The other principal component of the Starr Companies’ business was the investment

advisory and management business conducted by SIA, a registered investment advisory firm.

Because of the Government’s and SEC’s freeze on bank accounts of the Starr Companies and

related injunctive relief, as of June 1, 2010, when Ms. Cassirer was appointed Interim Monitor,

there was no investment activity being conducted at SIA. Thus, as with Starrco, as of the date

that Ms. Cassirer became the Monitor of SIA, that company was effectively no longer

conducting business.

       Recognizing the harsh reality of the situation at the Starr Companies, including the fact

that there were no funds available to pay payroll, that employees could not expect to be covered

by a current health insurance policy, and that employees’ 401(k) contributions had apparently

been diverted by Kenneth Starr, very soon after she was appointed temporary receiver Ms.

Cassirer was compelled by circumstances to confirm to all of the employees of the Starr

Companies that their employment had to be terminated. Accordingly, from and after June 11,

2010, the Starr Companies no longer had any employees.

       During the early days of the receiverships, with the advice of benefits professionals of

Troutman, the Receiver also determined that the documentation of the Starrco 401(k) Plan was

sufficiently up to date to permit employees to make withdrawals without facing undesirable tax

consequences, and the Receiver has since processed numerous requests by former employees for

access to their funds. In addition, with advice from her benefits attorneys at Troutman Sanders,

the Receiver has urged plan participants to roll their funds into personal IRA or other types of

accounts so that Starrco’s 401(k) Plan can be wound down. As a result, there remain only

approximately seven (7) former employees who have not removed their funds from the Starrco

401(k) Plan.




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       By mid-August, 2010, the Receiver and Troutman had addressed to the extent reasonably

possible the many requests of former clients of Starrco and SIA for copies of materials in their

files, while accommodating the interests of the Government with regard to the preservation of

documents, and it was time for the Receiver to proceed expeditiously to vacate the Starr Offices.

To that end, the Receiver undertook to box all client files and other business records and

documents currently at the premises to prepare to move those documents into off-site storage.

Certain records and files deemed of significance to the Receivership Estates were moved to the

Troutman Sanders’ offices so that they will be readily accessible for review. Nevertheless, there

were approximately 1,975 boxes moved into storage between September 1, 2010 and September

9, 2010. The Receiver had those boxes moved to GRM Information Management Systems

(“GRM”), the same storage facility already used by Starrco for off-site storage of client files and

business records, including electronic data.

       In addition to the huge volume of files and business records that were removed from the

Starr offices, the Receiver had to dispose of some fifty (50) rooms (including offices, conference

rooms, file rooms and mail room) full of used desks, chairs, computers, televisions, printers and

other assorted furniture and office equipment. With the exception of copying machines, which

were leased from Ricoh Americas Corporation (“Ricoh”), all of the furniture and office

equipment at the Starr offices belonged to Starrco. On August 20, 2010, the copy machines were

returned to Ricoh’s collection agent, Asset Recovery Specialists.

       In order to dispose of Starrco’s furniture and office equipment, the Receiver, through one

of Troutman’s office administrators who is assisting her on this matter, sought bids from

professional liquidators. The best offer obtained by the Receiver came from Business Asset

Consultants N.E. (“BAC”), which offered to dismantle and remove all furniture and equipment




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from the Starr premises for a payment of $11,900.00. On September 23, 2010, the Court issued

an order granting the Receiver’s motion (Docket No. 30) for permission to dispose of Starrco’s

office furniture and equipment through BAC. Pursuant to that Order, Starrco’s lease for its

office premises was rejected, effective upon vacating the premises, as was Starrco’s copy

machine lease.2 The process of vacating the premises was completed on or about October 8,

2010.

         During the past two months, the Receiver and Troutman have been engaged in the

process of turning files of former Starrco clients over to those clients who request them (and who

undertake to preserve the files for possible later production to the Government). However, now

that the Starrco and SIA estates are in Chapter 7, the trustee of those estates has the authority and

duty to take possession and control of assets of the estates, including books, records and files and

the Receiver is stayed from exercising control over those assets. For this reason, and also

because of the limited resources in the Starrco and SIA estates, the Receiver and Troutman have

put a hold on their work relating to the fulfillment of former clients’ requests for files and will

cooperate with the Chapter 7 trustee to transition custody of the files to the trustee.

         The Receiver, with the help of counsel to the SEC in this action, has also attended to the

termination of SIA’s registration as an investment advisor with the SEC. The next steps for the

Starr Companies’ receiverships would involve the investigation and pursuit of possible claims

and assets, and the disposition of certain personal property assets that are already in the

Receiver’s custody. Ultimately, if and when assets are marshaled sufficient to produce a



2
    During the course of administering the Starrco estate, the Receiver also discovered that Starrco is the named
    tenant under a residential lease for an apartment on 79th Street in Manhattan, which, with the consent of the
    landlord, has at all times been occupied by Starr and his wife and not by Starrco. Accordingly, as part of her
    motion, the Receiver sought an order deeming Starrco’s lease for the 79th Street apartment to be rejected, and
    that relief was granted.


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distribution to creditors, a claims process would have to be initiated and completed and a scheme

of distributions proposed and approved.

C.     The Chapter 7 Bankruptcy Cases of Starrco, SIA and Starr

       Unfortunately, the Receivership Estates do not have sufficient cash resources, or

prospects of cash recoveries within the next several months, to permit the Receiver and

Troutman to continue the administration of the Receivership Estates. For this reason, on

February 17, 2011, in accordance with authority granted to the Receiver by the Preliminary

Injunction Order of July 8, 2010, the Receiver filed voluntary bankruptcy petitions for Starrco

and SIA under Chapter 7 of the Bankruptcy Code in the United States Bankruptcy Court for the

Southern District of New York so that the administration of the Starrco and SIA estates can be

continued by a bankruptcy trustee. The Starrco Chapter 7 case bears Case No. 11‐10637 (ALG)

and the SIA Chapter 7 case bears Case No. 11‐10639 (ALG). On February 17, 2011, Albert

Togut, Esq. was appointed Chapter 7 trustee for both the Starrco and SIA Chapter 7 estates.

       Separate from the business records and client files that have been moved into storage, and

the office furniture and equipment that have been disposed of through BAC, there were certain

additional items of personal property at the 850 Third Avenue premises which the Receiver

chose not to dispose of at this time. Such property includes the central computer servers used by

the Starr Companies, which were removed to the Troutman offices for storage. In addition, there

are numerous decorative objects, art works and collectibles at the Starr Offices, including

photographs, paintings, drawings, pieces of art glass and baseball memorabilia, as well as

personal photographs, books and other personal effects. The Receiver had those items of a

personal nature moved to the Troutman offices for later disposition. The Receiver has not yet

had such items professionally appraised and she intends to leave that task to the Chapter 7



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trustee. It is likely that Kenneth Starr or others will assert an ownership interest in all or some of

those items of tangible personal property, and any such claims of ownership can also be resolved

by the Chapter 7 trustee.

       As the Court is aware, on January 21, 2011 the Estate of Joan Stanton and her related

company, JAS Ventures, LP, filed an involuntary petition against Starr under Chapter 7 of the

Bankruptcy Code in the Bankruptcy Court for the Southern District of New York, Case No. 11-

10219 (ALG). Although Starr has the right to contest the involuntary petition (and has received

an extension of his time to do so until March 25, 2011), Starr has no basis for contesting the

petition since he is clearly not paying his debts as they become due. As such, it is a given that

within a short period of time, a Chapter 7 trustee will be appointed for Starr’s bankruptcy estate.

That trustee will be the sole person with the right to possess and control all property of the Starr

bankruptcy estate, which would include any documents belonging to Starr as well as any tangible

or intangible assets in Starr’s name.

       In the bankruptcy petitions for Starrco and SIA, the Receiver indicated that those two

Chapter 7 cases are related to the Chapter 7 case for Starr. The Starrco and SIA cases were

therefore assigned to Bankruptcy Judge Allan L. Gropper, who also presides over the Starr

Chapter 7 case. The Receiver believes that the three cases should be administered by a single

trustee, Mr. Togut, so that the costs of administration can best be minimized and the recovery of

creditors maximized.

D.     Assets, Liabilities, Receipts and Disbursements of the Receivership Estates

       1.      Receipts and Available Funds

       Based upon her investigation of the Starr Companies’ books and records, the Starr

Companies had the following amounts of cash on hand in bank accounts as of June 1, 2010, the

date of Ms. Cassirer’s appointment as Interim Monitor:


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       Starrco          $139,977.19     ($121,470.22 at Signature Bank and $18,506.97 at City
                                        Private Bank)

       SIA              $1,795.70       (at Bank of America)

       As of June 1, 2010 and since that date, the foregoing accounts, and the funds in those

accounts, have been frozen by the SEC and the United States Attorney’s Office, and accordingly,

to the knowledge of the Receiver, the balances in those accounts remain the same as of the date

hereof. The SEC freeze applies to the $18,506.97 of funds in Starrco’s account at City Private

Bank and the $1,795.70 of funds in SIA’s account at Bank of America. The SEC has indicated

that it will seek an amendment to outstanding orders to permit the Receiver access to those

funds. The US Attorney’s freeze applies to the Starrco funds at Signature Bank. The

Government has indicated that the Receiver will have access to approximately $60,000 of the

funds in the Starrco account at Signature Bank, bringing the total of funds that are to be released

by the SEC and the Government to approximately $80,000. As yet, the Receiver has not

obtained access to such funds, so the Chapter 7 trustee will step into the shoes of Starrco and SIA

with respect thereto.

       Immediately upon her appointment as Receiver, Ms. Cassirer opened a receivership bank

account for each of Starrco and SIA. The Receiver has deposited into the Starrco and SIA

accounts fee payments made by former clients of those entities, and the Receiver has paid certain

estate expenses from those accounts. As of the date hereof, the balances in the Starrco and SIA

receivership accounts are as follows:

       Starrco          $ 14,468.46

       SIA              $ 20,469.39




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       2.     Assets of the Receivership Estates

       To the best of the Receivers’ knowledge, based upon her examination of available

records of the Starr Companies and interviews of certain key Starr employees, the assets on the

books of Starrco and SIA consist of:

       A.     Accounts Receivable. Since the commencement of the receivership and through

                             the date of this Motion, the Receiver has collected and deposited

                             into the receivership accounts fee payments made by former clients

                             totaling $221,269.86 for Starrco and $20,529.97 for SIA.

                             Receivables remaining on the books of Starrco and SIA amount to

                             more than $1,400,000. However, the Receiver believes that she

                             has collected substantially all fee payments that will be made by

                             former clients of the Starr Companies on a voluntary basis. Thus,

                             additional collections, if any, will very likely be made only through

                             litigation. The Receiver cannot presently estimate the amount of

                             collections that will be recovered through litigation.

                                       On July 8, 2010, the Receiver commenced an action in the

                             Supreme Court, New York County against Sikelia Productions and

                             Martin Scorsese to recover receivables of approximately $600,000

                             owed to Starrco and SIA. Prior to the Chapter 7 filings for Starrco

                             and SIA, discovery proceedings had commenced in the action.

                             The claims asserted in the action are now property of the

                             bankruptcy estates of Starrco and SIA and accordingly any further

                             proceedings in the action will be under the control and direction of

                             the trustee. Moreover, Troutman, which has been representing the


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                   Receiver as the plaintiff in the action, is not a retained professional

                   of the Chapter 7 trustee and accordingly is not authorized to devote

                   additional time to the matter.      It will be up to the trustee to

                   determine how this action is prosecuted hereafter.          No other

                   collection actions have been commenced on behalf of the

                   receivership estates.

B.   Additional Personal Property, including collectibles, art work, books,

                   photographs and other items of personal property located at the

                   Starrco office premises.     These items were removed from the

                   Starrco office premises in September, 2010 and stored at

                   Troutman’s offices to protect and preserve them pending further

                   disposition. These items have not been professionally appraised,

                   but they do not appear to be of sufficient value to generate a

                   material recovery for creditors. Indeed, it is possible that such

                   items will not generate proceeds sufficient to pay the costs of

                   moving and preserving those items for a sale. Moreover, Starr

                   may claim a personal interest in some or all of these items which

                   would have to be evaluated, and if necessary resolved by the

                   Chapter 7 trustee.

C.   Litigation Claims. On October 27, 2010, the Receiver filed an action for breach

                   of fiduciary duty against Starr in the Supreme Court of the State of

                   New York, County of New York. Starr defaulted in answering the

                   complaint but no judgment has been entered against him. The




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                              action is now stayed by the Chapter 7 proceeding against Starr.

                              The Chapter 7 trustee for Starrco and SIA will now have

                              ownership and control over the claims asserted in the action.

       3.      Disbursements

               The Receiver has heretofore reported to the SEC and the Court with respect to

collections and disbursements during the months of June, July and August, 2010 (See First

Interim Fee Application, Docket no. 36), and with respect to the months of September, October

and November, 2010 (See Second Interim Fee Application, Docket no. 42).            The Receiver’s

reports as aforesaid included separate quarterly Standardized Fund Accounting Reports for each

of the Starrco estate, the SIA estate and the Colcave estate, in the format specified by the SEC in

its Billing Instructions for Receivers in Civil Actions Commenced by the U.S. Securities and

Exchange Commission (the “Billing Instructions”).

       To bring the Receiver’s financial reporting up to date, annexed hereto as Exhibit “A” are

separate Standardized Fund Accounting reports for Starrco and SIA for the period of

approximately three months from December 1, 2010 through the date of this Motion (the “Final

Period”). As reflected in the attached Accounting report, during the Final Period, the Receiver

made the following individual disbursements in excess of $1,000:

       a.      By check dated December 1, 2010, the Receiver made a payment in the amount of

$129,444.52 to Troutman from the Starrco receivership account in payment of 50% of the fees

and 100% of the disbursements awarded to Troutman in connection with the Receiver’s and

Troutman’s First Interim Fee Application (See Order of November 22, 2010; Docket No. 37).

       b.      By check dated December 1, 2010, the Receiver made a payment in the amount of

$25,621.10 to the Receiver from the Starrco receivership account in payment of 50% of the fees



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and 100% of the disbursements awarded to the Receiver in connection with the Receiver’s and

Troutman’s First Interim Fee Application (See Order of November 22, 2010; Docket No. 37).

        c.       By check dated December 10, 2010, the Receiver made a payment in the amount

of $25,000 to GRM from the Starrco receivership account in the amount of $25,000 in partial

payment of GRM’s charges for document storage and transport during the receivership.

        4.       Accrued and Unpaid Administrative Expenses

        The accrued and unpaid administrative expenses of the Starrco and SIA receivership

estates amount to approximately $535,000 as of the date hereof. The largest single accrued and

unpaid administrative expense is the Receiver’s and Troutman’s fees and disbursements of

approximately $415,000, including the unpaid balance of the amounts awarded pursuant to the

Receiver’s and Troutman’s First and Second Interim Fee Applications ($315,336.60) plus

approximately $100,000 in fees and disbursements accrued between December 1, 2010 and the

date hereof.3 The other material accrued and unpaid administrative expenses as of the date

hereof include: (a) storage fees for Starrco’s outside storage of client files and business records at

GRM amounting to approximately $110,000.00; (b) charges for additional storage facilities

rented by Starrco as of the commencement of the receivership in the approximate amount of

$500.00; (c) expenses relating to the telephone systems and services maintained by Starrco,

which remained in use during part of the receivership in the approximate amount of $6,500.00;

(d) Lexis/Nexis charges for services used by Starrco employees in the approximate amount of

$2,800.00; and (e) UPS charges of approximately $571.00. In large part, the foregoing amounts

are based upon invoices rendered to the Starr Companies from and after June 1, 2010 by vendors

3
  Because of the pending Chapter 7 cases and the resulting stay of any claims or actions against the debtors, the
Receiver and Troutman do not anticipate filing further fee applications in the within action. Rather, at an
appropriate time, the Receiver and Troutman will file a claim in the Starrco and SIA Chapter 7 cases for the unpaid
amounts of fees and disbursements heretofore awarded by this Court, together with the additional amounts accruing
since December 1, 2010.


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who were providing services to the Starr Companies before the receivership and continued to do

so after the receivership was commenced. The Receiver has not confirmed the amount of such

liabilities or determined to what extent, if any, each such expense resulted in a benefit to the

receivership estates.4

        It appears that the business of the Starr Companies was run for the most part on the books

of Starrco and not SIA. For example, all employees working in the Starr Companies” offices

were on the payroll of Starrco and all benefits for said employees were provided by Starrco.

Similarly, the leases for the offices premises and copy machines used by both Starrco and SIA

were in the name of Starrco. Therefore, with the exception of the Receiver’s fees and

Troutman’s fees, the administrative expenses of the Starr Companies’ receivership estates are

accruing on the books of Starrco.

E.      The Starrco and SIA Receiverships Should be Terminated

         In light of the Chapter 7 cases for Starrco and SIA, the property and affairs of Starrco

and SIA are under the control of a Chapter 7 trustee, and further proceedings in the within action

are for the most part stayed as to Starrco and SIA. Accordingly, it is respectfully submitted that

the receiverships for Starrco and SIA are no longer needed and should be terminated. The

Receiver has accordingly proposed the attached form of Order which provides for termination of

the receiverships for Starrco and SIA, turnover of the property of those estates to the Chapter 7

trustee, and discharge of the Receiver and her counsel.

                                          II.      CONCLUSION

        The Receiver requests that the Court grant this Motion in all respects, and accordingly


4
 The accrued and unpaid expenses of administration include invoices from various vendors, including Verizon,
AT&T, UPS and several others, relating to goods or services provided both before and since the commencement of
the receivership. The Receiver’s calculation of accrued administrative expenses is necessarily estimated for this
additional reason.


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issue an Order in the proposed form attached hereto as Exhibit “B”, and grant such other relief as

the Court may deem just and equitable.

Dated: New York, New York
       March 4, 2011                              Respectfully submitted,


                                                  By: /s/Lee W. Stremba
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                         EXHIBIT “A”

        STANDARDIZED FUND ACCOUNTING REPORTS




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                          AURORA CASSIRER, ESQ.
                           405 LEXINGTON AVENUE
                          THE CHRYSLER BUILDING
                         NEW YORK, NEW YORK10174
                                212.704.6000




                      STANDARDIZED FUND
                      ACCOUNTING REPORT
                             CIVIL – RECEIVERSHIP


                   -------------------------------------------------




                            STARR & COMPANY
                       DOCKET NO. 10 CIV. 4270 (SHS)




                  REPORTING PERIOD 12/01/2010 TO 02/28/2011




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             STANDARDIZED FUND ACCOUNTING REPORT FOR STARR & COMPANY - Cash Basis
                         Aurora Cassirer, Receiver; Docket No. 10 Civ. 4270 (SHS)
                                Reporting Period 12/01/2010 to 02/28/2011


FUND ACCOUNTING (See notes attached hereto for additional information):
                                                                          Detail       Subtotal      Grand Total
Line 1       Beginning Balance (As of 12/01/2010):
             Signature Bank                                               121,470.22
             Citi Private Bank                                             18,506.97    139,977.19
             Receivership Account (Wachovia)                              195,527.17                    335,504.36
             Increases in Fund Balance:
Line 2       Business Income
Line 3       Cash and Securities
Line 4       Interest/Dividend Income
Line 5       Business Asset Liquidation
Line 6       Personal Asset Liquidation
Line 7       Third-Party Litigation Income
Line 8       Miscellaneous - bank fees                                                       55.34



               Total Funds Available (Lines 1 - 8)                                                      335,449.02
             Decreases in Fund Balance:
Line 9       Disbursements to Investors
Line 10      Disbursements for Receivership Operations
  Line 10a   Disbursements to Receiver or Other Professionals                           155065.52        155065.52
  Line 10b   Business Asset Expenses
             GRM (Records maintenance)                                                   25000.00
             ADP (Processing of 2010 W-2s for former employees)                            937.85         25937.85
  Line 10C   Personal Asset Expenses
  Line 10d   Investment Expenses
  Line 10e   Third-Party Litigation Expenses
                1. Attorney Fees
                2. Litigation Expenses
             Total Third Party Litigation Expenses
  Line 10f   Tax Administrator Fees and Bonds
  Line 10g   Federal and State Tax Payments
                Total Disbursements for Receivership Operations                                         181,003.37
Line 11      Disbursements for Distributions Paid by Fund
  Line 11a      Distribution Plan Development Expenses
                      1. Fees:
                            Fund Administrator…………………..………….
                            Independent Distribution Consultant (IDC)…
                            Distribution Agent………………….…….……..
                            Consultants………………………………….……
                            Legal Advisers……………………………………
                            Tax Advisers …………………………………….
                      2. Administrative Expenses
                      3. Miscellaneous
                   Total Plan Development Expenses
  Line 11b         Distribution Plan Implementation Expenses:
                   1. Fees:
                         Fund Administrator ……………………….……….
                         IDC…………………………………………………
                         Distribution Agent………………………………….
                         Consultants……........………………………………
                         Legal Advisers………………………………………
                         Tax Advisers ……………………………………….
                   2. Administrative Expenses
                   3. Investor Identification:
                         Notice/Publishing Approved Plan …….….……
                         Claimant Identification ……………………………
                         Claims Processing………………….………….…...
                         Web Site Maintenance/Call Center ……………..
                   4. Fund Administrator Bond
                   5. Miscellaneous
                   6. Federal Account for Investor Restitution
                   (FAIR) Reporting Expenses
                 Total Plan Implementation Expenses
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             STANDARDIZED FUND ACCOUNTING REPORT FOR STARR & COMPANY - Cash Basis
                         Aurora Cassirer, Receiver; Docket No. 10 Civ. 4270 (SHS)
                                Reporting Period 12/01/2010 to 02/28/2011


             Total Disbursements or Distribution Expenses Paid by the Fund
Line 12      Disbursements to Court/Other:
               Investments Expenses/Court Registry Investment System
  Line 12a     (CRIS) Fees
  Line 12b     Federal Tax Payments
               Total Disbursements to Court/Other:
               Total Funds Disbursed (Lines 9 -11):
Line 13      Ending Balances (As of 02/28/2011)


Line 14      Ending Balance of Fund - Net Assets:
  Line 14a     Cash & Cash Equivalents
  Line 14b     Investments
  Line 14c     Other Assets or Uncleared Funds
             Total Ending Balance of Fund - Net Assets                                                   154,445.65
OTHER SUPPLEMENTAL INFORMATION:
                                                                                Detail Subtotal       Grand Total
             Report of Items NOT To Be Paid by the Funds:
Line 15      Disbursements for Plan Administration Expenses Not Paid by the Fund
  Line 15a     Plan Developments Expenses Not Paid by the Fund:
               1. Fees:
                     Fund Administrator ……………………..……………
                     IDC………………….…………………...………………
                     Distribution Agent ………………………….…………
                     Consultants………………………..……………………
                     Legal Advisers ……………………..………………….
                     Tax Advisers …………….…...……………………….
               2. Administrative Expenses ……...……………………….
               3. Miscellaneous
             Total Plan Development Expenses Not Paid by the Fund
  Line 15b   Plan Implementation Expenses Not Paid by the Fund:
               1. Fees:
                  Fund Administrator ….……………....………………….
                  IDC…………………….………………...…….……………
                  Distribution Agent ……………….………………………
                  Consultants ……………………………………………….
                  Legal Advisers …………………………………………….
                  Tax Advisers ……………………………………………..
               2. Administrative Expenses
               3. Investigator Identification
                  Notice/Publishing Approved Plan …………………….
                  Claimant Identification .………………………………..
                  Claims Processing ………..………………………………
                  Web Site Maintenance/Call Center ……………………
               4. Fund Administrator Bond
               5. Miscellaneous
               6. FAIR Reporting Expenses
               Total Plan Implementation Expenses Not Paid By the Fund
  Line 15c     Tax Administrator Fees & Bonds Not Paid by the Fund
             Paid by the Fund
Line 16      Disbursements to Court/Other Not Paid by the Fund:
  Line 16a     Investment Expenses/CRIS Fees
  Line 16b     Federal Tax Payments
             Total Disbursements to Court/Other Not Paid by the Fund:
Line 17      DC & State Tax Payments
Line 18      No. of Claims:
  Line 18a        # of Claims Received This Reporting Period…………..…...…………………………....
  Line 18b        # of Claims Received Since Inception of Fund …..……....….…….………………….
Line 19      No. of Claimants/Investors:
  Line 19a        # of Claimants/Investors Paid This Reporting Period ……………..….…………...…..
  Line 19b        # of Claimants/Investors Paid Since Inception of Fund…...…..……………………….


                                                                         Receiver:
                                                                         By:         _______________________
                                                                                     Aurora Cassirer, As Receiver
                                                                         Date:       _______________________
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                          AURORA CASSIRER, ESQ.
                           405 LEXINGTON AVENUE
                          THE CHRYSLER BUILDING
                         NEW YORK, NEW YORK10174
                                212.704.6000




                      STANDARDIZED FUND
                      ACCOUNTING REPORT
                             CIVIL – RECEIVERSHIP


                   -------------------------------------------------




                     STARR INVESTMENT ADVISORS, LLC
                       DOCKET NO. 10 CIV. 4270 (SHS)




                  REPORTING PERIOD 12/01/2010 TO 02/28/2011




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   STANDARDIZED FUND ACCOUNTING REPORT FOR STARR INVESTMENT ADVISORS, LLC - Cash Basis
                      Aurora Cassirer, Receiver; Docket No. 10 Civ. 4270 (SHS)
                            Reporting Period 12/01/2010 to 02/28/2011

FUND ACCOUNTING (See notes attached hereto for additional information):
                                                                              Detail   Subtotal     Grand Total
Line 1        Beginning Balance (As of 12/01/2010):
              Bank of America                                                            1,795.70
              Receiverhsip Account (Wachovia)                                           20,529.97        22325.67
              Increases in Fund Balance:
Line 2        Business Income                                                                0.00
Line 3        Cash and Securities
Line 4        Interest/Dividend Income
Line 5        Business Asset Liquidation
Line 6        Personal Asset Liquidation
Line 7        Third-Party Litigation Income
Line 8        Miscellaneous - bank fees                                                     60.58


                Total Funds Available (Lines 1 - 8)                                                     22,265.09
              Decreases in Fund Balance:
Line 9        Disbursements to Investors
Line 10       Disbursements for Receivership Operations
  Line 10a    Disbursements to Receiver or Other Professionals
  Line 10b    Business Asset Expenses
  Line 10C    Personal Asset Expenses
  Line 10d    Investment Expenses
  Line 10e    Third-Party Litigation Expenses
                1. Attorney Fees
                2. Litigation Expenses
              Total Third Party Litigation Expenses
  Line 10f    Tax Administrator Fees and Bonds
  Line 10g    Federal and State Tax Payments
                Total Disbursements for Receivership Operations
Line 11       Disbursements for Distributions Paid by Fund
  Line 11a      Distribution Plan Development Expenses
                      1. Fees:
                           Fund Administrator…………………..………….
                           Independent Distribution Consultant (IDC)…
                           Distribution Agent………………….…….……..
                           Consultants………………………………….……
                           Legal Advisers……………………………………
                           Tax Advisers …………………………………….
                      2. Administrative Expenses
                      3. Miscellaneous
                   Total Plan Development Expenses
  Line 11b         Distribution Plan Implementation Expenses:
                   1. Fees:
                         Fund Administrator ……………………….……….
                         IDC…………………………………………………
                         Distribution Agent………………………………….
                         Consultants……........………………………………
                         Legal Advisers………………………………………
                         Tax Advisers ……………………………………….
                   2. Administrative Expenses
                   3. Investor Identification:
                         Notice/Publishing Approved Plan …….….……
                         Claimant Identification ……………………………
                         Claims Processing………………….………….…...
                         Web Site Maintenance/Call Center ……………..
                   4. Fund Administrator Bond
                   5. Miscellaneous
                   6. Federal Account for Investor Restitution
                   (FAIR) Reporting Expenses
                  Total Plan Implementation Expenses
              Total Disbursements or Distribution Expenses Paid by the Fund
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   STANDARDIZED FUND ACCOUNTING REPORT FOR STARR INVESTMENT ADVISORS, LLC - Cash Basis
                      Aurora Cassirer, Receiver; Docket No. 10 Civ. 4270 (SHS)
                            Reporting Period 12/01/2010 to 02/28/2011


Line 12       Disbursements to Court/Other:
                Investments Expenses/Court Registry Investment System
  Line 12a      (CRIS) Fees
  Line 12b      Federal Tax Payments
                Total Disbursements to Court/Other:
                Total Funds Disbursed (Lines 9 -11):
Line 13       Ending Balances (As of 02/28/2011)                                                    22,265.09


Line 14       Ending Balance of Fund - Net Assets:
  Line 14a      Cash & Cash Equivalents
  Line 14b      Investments
  Line 14c      Other Assets or Uncleared Funds
              Total Ending Balance of Fund - Net Assets
OTHER SUPPLEMENTAL INFORMATION:
                                                                             Detail   Subtotal   Grand Total
              Report of Items NOT To Be Paid by the Funds:
Line 15       Disbursements for Plan Administration Expenses Not Paid by the Fund
  Line 15a      Plan Developments Expenses Not Paid by the Fund:
                1. Fees:
                     Fund Administrator ……………………..……………
                     IDC………………….…………………...………………
                     Distribution Agent ………………………….…………
                     Consultants………………………..……………………
                     Legal Advisers ……………………..………………….
                     Tax Advisers …………….…...……………………….
                2. Administrative Expenses ……...……………………….
                3. Miscellaneous
              Total Plan Development Expenses Not Paid by the Fund
  Line 15b    Plan Implementation Expenses Not Paid by the Fund:
                1. Fees:
                   Fund Administrator ….……………....………………….
                   IDC…………………….………………...…….……………
                   Distribution Agent ……………….………………………
                   Consultants ……………………………………………….
                   Legal Advisers …………………………………………….
                   Tax Advisers ……………………………………………..
                2. Administrative Expenses
                3. Investigator Identification
                   Notice/Publishing Approved Plan …………………….
                   Claimant Identification .………………………………..
                   Claims Processing ………..………………………………
                   Web Site Maintenance/Call Center ……………………
                4. Fund Administrator Bond
                5. Miscellaneous
                6. FAIR Reporting Expenses
                Total Plan Implementation Expenses Not Paid By the Fund
  Line 15c      Tax Administrator Fees & Bonds Not Paid by the Fund
              Paid by the Fund
Line 16       Disbursements to Court/Other Not Paid by the Fund:
  Line 16a      Investment Expenses/CRIS Fees
  Line 16b      Federal Tax Payments
              Total Disbursements to Court/Other Not Paid by the Fund:
Line 17       DC & State Tax Payments
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   STANDARDIZED FUND ACCOUNTING REPORT FOR STARR INVESTMENT ADVISORS, LLC - Cash Basis
                      Aurora Cassirer, Receiver; Docket No. 10 Civ. 4270 (SHS)
                            Reporting Period 12/01/2010 to 02/28/2011


Line 18       No. of Claims:
  Line 18a         # of Claims Received This Reporting Period…………..…...…………………………....
  Line 18b         # of Claims Received Since Inception of Fund …..……....….…….………………….
Line 19       No. of Claimants/Investors:
  Line 19a         # of Claimants/Investors Paid This Reporting Period ……………..….…………...…..
  Line 19b         # of Claimants/Investors Paid Since Inception of Fund…...…..……………………….

                                                                       Receiver:


                                                                       By:          _______________________
                                                                                    Aurora Cassirer, As Receiver
                                                                       Date:        _______________________
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                          AURORA CASSIRER, ESQ.
                           405 LEXINGTON AVENUE
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                         NEW YORK, NEW YORK10174
                                212.704.6000




                      STANDARDIZED FUND
                      ACCOUNTING REPORT
                             CIVIL – RECEIVERSHIP


                   -------------------------------------------------




                              COLCAVE LLC
                       DOCKET NO. 10 CIV. 4270 (SHS)




                  REPORTING PERIOD 12/01/2010 TO 02/28/2011




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               STANDARDIZED FUND ACCOUNTING REPORT FOR COLCAVE LLC - Cash Basis
                         Aurora Cassirer, Receiver; Docket No. 10 Civ. 4270 (SHS)
                               Reporting Period 12/01/2010 to 02/28/2011

FUND ACCOUNTING (See notes attached hereto for additional information):
                                                                              Detail   Subtotal     Grand Total
Line 1        Beginning Balance (As of 12/01/2010):
              Signature Bank                                                           716,971.57
              Receivership Account                                                           0.00
              Increases in Fund Balance:
Line 2        Business Income                                                                0.00
Line 3        Cash and Securities
Line 4        Interest/Dividend Income
Line 5        Business Asset Liquidation
Line 6        Personal Asset Liquidation
Line 7        Third-Party Litigation Income
Line 8        Miscellaneous


                Total Funds Available (Lines 1 - 8)                                                    716,971.57
              Decreases in Fund Balance:
Line 9        Disbursements to Investors
Line 10       Disbursements for Receivership Operations
  Line 10a    Disbursements to Receiver or Other Professionals
  Line 10b    Business Asset Expenses
  Line 10C    Personal Asset Expenses
  Line 10d    Investment Expenses
  Line 10e    Third-Party Litigation Expenses
                1. Attorney Fees
                2. Litigation Expenses
              Total Third Party Litigation Expenses
  Line 10f    Tax Administrator Fees and Bonds
  Line 10g    Federal and State Tax Payments
                Total Disbursements for Receivership Operations
Line 11       Disbursements for Distributions Paid by Fund
  Line 11a      Distribution Plan Development Expenses
                      1. Fees:
                           Fund Administrator…………………..………….
                           Independent Distribution Consultant (IDC)…
                           Distribution Agent………………….…….……..
                           Consultants………………………………….……
                           Legal Advisers……………………………………
                           Tax Advisers …………………………………….
                      2. Administrative Expenses
                      3. Miscellaneous
                   Total Plan Development Expenses
  Line 11b         Distribution Plan Implementation Expenses:
                   1. Fees:
                         Fund Administrator ……………………….……….
                         IDC…………………………………………………
                         Distribution Agent………………………………….
                         Consultants……........………………………………
                         Legal Advisers………………………………………
                         Tax Advisers ……………………………………….
                   2. Administrative Expenses
                   3. Investor Identification:
                         Notice/Publishing Approved Plan …….….……
                         Claimant Identification ……………………………
                         Claims Processing………………….………….…...
                         Web Site Maintenance/Call Center ……………..
                   4. Fund Administrator Bond
                   5. Miscellaneous
                   6. Federal Account for Investor Restitution
                   (FAIR) Reporting Expenses
                  Total Plan Implementation Expenses
              Total Disbursements or Distribution Expenses Paid by the Fund
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               STANDARDIZED FUND ACCOUNTING REPORT FOR COLCAVE LLC - Cash Basis
                         Aurora Cassirer, Receiver; Docket No. 10 Civ. 4270 (SHS)
                               Reporting Period 12/01/2010 to 02/28/2011


Line 12       Disbursements to Court/Other:
                Investments Expenses/Court Registry Investment System
  Line 12a      (CRIS) Fees
  Line 12b      Federal Tax Payments
                Total Disbursements to Court/Other:
                Total Funds Disbursed (Lines 9 -11):
Line 13       Ending Balances (As of 02/28/2011)                                                   716,971.57


Line 14       Ending Balance of Fund - Net Assets:
  Line 14a      Cash & Cash Equivalents
  Line 14b      Investments
  Line 14c      Other Assets or Uncleared Funds
              Total Ending Balance of Fund - Net Assets
OTHER SUPPLEMENTAL INFORMATION:
                                                                             Detail   Subtotal   Grand Total
              Report of Items NOT To Be Paid by the Funds:
Line 15       Disbursements for Plan Administration Expenses Not Paid by the Fund
  Line 15a      Plan Developments Expenses Not Paid by the Fund:
                1. Fees:
                     Fund Administrator ……………………..……………
                     IDC………………….…………………...………………
                     Distribution Agent ………………………….…………
                     Consultants………………………..……………………
                     Legal Advisers ……………………..………………….
                     Tax Advisers …………….…...……………………….
                2. Administrative Expenses ……...……………………….
                3. Miscellaneous
              Total Plan Development Expenses Not Paid by the Fund
  Line 15b    Plan Implementation Expenses Not Paid by the Fund:
                1. Fees:
                   Fund Administrator ….……………....………………….
                   IDC…………………….………………...…….……………
                   Distribution Agent ……………….………………………
                   Consultants ……………………………………………….
                   Legal Advisers …………………………………………….
                   Tax Advisers ……………………………………………..
                2. Administrative Expenses
                3. Investigator Identification
                   Notice/Publishing Approved Plan …………………….
                   Claimant Identification .………………………………..
                   Claims Processing ………..………………………………
                   Web Site Maintenance/Call Center ……………………
                4. Fund Administrator Bond
                5. Miscellaneous
                6. FAIR Reporting Expenses
                Total Plan Implementation Expenses Not Paid By the Fund
  Line 15c      Tax Administrator Fees & Bonds Not Paid by the Fund
              Paid by the Fund
Line 16       Disbursements to Court/Other Not Paid by the Fund:
  Line 16a      Investment Expenses/CRIS Fees
  Line 16b      Federal Tax Payments
              Total Disbursements to Court/Other Not Paid by the Fund:
Line 17       DC & State Tax Payments
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               STANDARDIZED FUND ACCOUNTING REPORT FOR COLCAVE LLC - Cash Basis
                         Aurora Cassirer, Receiver; Docket No. 10 Civ. 4270 (SHS)
                               Reporting Period 12/01/2010 to 02/28/2011


Line 18       No. of Claims:
  Line 18a         # of Claims Received This Reporting Period…………..…...…………………………....
  Line 18b         # of Claims Received Since Inception of Fund …..……....….…….………………….
Line 19       No. of Claimants/Investors:
  Line 19a         # of Claimants/Investors Paid This Reporting Period ……………..….…………...…..
  Line 19b         # of Claimants/Investors Paid Since Inception of Fund…...…..……………………….

                                                                       Receiver:


                                                                       By:          _______________________
                                                                                    Aurora Cassirer, As Receiver
                                                                       Date:        _______________________
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                         EXHIBIT “B”

     PROPOSED ORDER TERMINATED RECEIVERSHIPS OF
STARR INVESTMENT ADVISORS, LLC AND STARR & COMPANY, LLC




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Tel: 212-704-6000
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Lee W. Stremba

Attorneys for Receiver Aurora Cassirer

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------x
                                         :
SECURITIES AND EXCHANGE COMMISSION,      :
                                         :
                              Plaintiff, :
                                         :                           10 CIV. 4270 (SHS)
-against-                                :
                                         :
KENNETH IRA STARR, STARR INVESTMENT      :
ADVISORS, LLC, and STARR & COMPANY, LLC, :
                                         :
                  Defendants,            :
                                         :
DIANE PASSAGE and COLCAVE, LLC,          :
                                         :
           Relief Defendants.            :
-----------------------------------------x

             ORDER TERMINATING RECEIVERSHIPS OF STARR INVESTMENT
                 ADVISORS, LLC AND STARR & COMPANY, LLC

       Upon the motion of Aurora Cassirer (the “Receiver”), as receiver for Defendants Starr

Investment Advisors, LLC(“SIA”) and Starr & Company, LLC (“Starrco”) and Relief

Defendant Colcave, LLC (“Colcave”), for an Order terminating the receiverships of SIA and

Starrco and granting related relief (the “Motion”); and upon the consent of the Plaintiff Securities

and Exchange Commission (the “SEC”), and due and sufficient notice having been given, it is

hereby:

       ORDERED, that the Motion is granted to the extent set forth below; and it is further



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        ORDERED, the receivership of SIA and Starrco are hreby terminated; and it is further

        ORDERED, that the Receiver and her employees, agents and attorneys are hereby

released and discharged from: (a) any further duties or obligations with respect to the SIA and

Starrco receiverships, and (b) any liability for all actions related to the SIA and Starrco

receiverships and for serving as the Receiver for SIA and Starrco; provided that the Receiver

shall have the continuing duty to turn over to the Chapter 7 trustee for SIA and Starrco assets or

property of those estates, as set forth below; and it is further

        ORDERED, that the Receiver is authorized and directed to turn over to the Chapter 7

trustee for SIA and Starrco all funds held by the Receiver in the receivership accounts for those

entities; and it is further

        ORDERED, that the Receiver is authorized and directed to turn over to the Chapter 7

trustee for SIA and Starrco all other assets or property of the SIA and/or Starrco estates in the

Receiver’s possession, custody or control, including without limitation books and records of SIA

and Starrco and files maintained by SIA or Starrco for their former clients and computer

equipment, art work, decorative objects, books, memorabilia and other personal property located

at the Starrco office premises at 850 Third Avenue, New York, New York.

        Issued at __________        .m., at New York, New York, this ____ day of --------------,

2011.



                                                          ____________________________________
                                                            UNITED STATES DISTRICT JUDGE




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